            Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 1 of 12




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LUJAN ENTERPRISE, INC. D/B/A
                                                 §
BIG LOU’S PIZZA,
                                                 §
       Plaintiff,                                §
                                                 §
       v.                                        §
                                                 §
BIG LOUIE’S U.S.A., INC.,                        §           Civil Action No. 5:21-cv-633-OLG
                                                 §
       Defendant.                                §

                         DEFENDANT’S MOTION TO DISMISS
                     FOR LACK OF PERSONAL JURISDICTION, OR
                     IN THE ALTERNATIVE, TO TRANSFER VENUE
                      AND MEMORANDUM IN SUPPORT THEREOF

       Defendant, Big Louie’s U.S.A., Inc. (“Big Louie’s”), respectfully moves this Court to

dismiss Plaintiff’s Original Complaint (“Complaint”) in its entirety for lack of personal jurisdiction

under Fed. R. Civ. P. 12(b)(2). In the alternative, Big Louie’s moves pursuant to 28 U.S.C. §

1406(a) to transfer venue to the Fort Lauderdale Division of the Southern District of Florida.




{00350192.1}                                      i
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 2 of 12




                                     I.      INTRODUCTION

        Defendant Big Louie’s U.S.A., Inc. (“Big Louie’s”) moves to dismiss the claims

 asserted against it pursuant to Fed. R. Civ. P. 12(b)(2). These grounds for dismissal relate to

 Big Louie’s lack of contact with the state of Texas. In the alternative, this Court should transfer

 venue to the Southern District of Florida, Fort Lauderdale Division, pursuant to 28 U.S.C. §

 1406(a).

        Plaintiff Lujan Enterprise, Inc. d/b/a/ Big Lou’s Pizza (“Plaintiff”) has failed to plead any

facts to support its assertion that Big Louie’s has sufficient contacts in Texas to justify personal

jurisdiction. Big Louie’s, a Florida corporation with its principal place of business in Florida, does

not have sufficient contacts with Texas to confer general personal jurisdiction consistent with due

process, nor can this Court exercise specific jurisdiction because this controversy does not arise

from Big Louie’s limited contacts with Texas. For these reasons, Defendant respectfully submits

to this Court, Plaintiff’s Complaint should be dismissed for lack of personal jurisdiction, or in the

alternative transferred to the Southern District of Florida, Fort Lauderdale Division.

                           II.     FACTS SUPPORTING DISMISSAL

         Big Louie’s is a Florida corporation with its principal place of business in Pompano

 Beach, Florida. Appendix at Exhibit A, Decl. of Natale Donato ¶ 4. Big Louie’s operates a chain

 of Italian restaurants specializing in pizza, with locations throughout the state of Florida. Id. at

 ¶ 5.

        Since as early as 1986, Big Louie’s and its predecessors have been using the BIG

 LOUIE’S Mark in connection with restaurant services. Id. at ¶ 6. Big Louie’s has spent

 considerable sums on marketing, advertising, and promotional activities, and because of its

 quality of restaurant services, Big Louie’s has gained a valuable reputation for its BIG


{00350192.1}                                      1
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 3 of 12




 LOUIE’S Mark in Florida and throughout the United States. Id. at ¶ 7. The BIG LOUIE’S

 Mark was registered with the United States Patent and Trademark Office on April 9, 1996, as

 Trademark Registration Serial No. 1,966,205 (“205 Registration”). Id. Because of Big

 Louie’s longstanding and continuous use of the BIG LOUIE’S Mark, the 205 Registration is

 now incontestable pursuant to 15 U.S.C. §§ 1058 & 1065. Id. at ¶ 8.

         Plaintiff, a Texas Corporation, operates a pizza restaurant in San Antonio, Texas under

 the mark BIG LOU’S PIZZA. Compl. [Dkt. No. 1] at ¶ 2. Plaintiff’s mark is almost identical

 to Big Louie’s registered mark. Id. On May 24, 2021, Big Louie’s, through its attorney, sent

 Plaintiff a letter requesting that it cease using Big Louie’s trademarks. Id. at ¶ 15. In response

 to this letter, Plaintiff filed the Complaint for Declaratory Judgment on July 6, 2021. Id. at ¶

 18. In its Complaint, Plaintiff alleges no trademark infringement exists and seeks a declaratory

 judgment that the registered Texas trademark “Big Lou’s Pizza” does not infringe upon the

 “Big Louie’s” trademark and thereby does not violate the Lanham Act. Id.

        According to Plaintiff’s Complaint, at the time of suit, Big Louie’s had no presence in

Texas. Id. at ¶ 3. None of Big Louie’s employees, officers, agents, or contractors reside or are

domiciled in Texas. Appendix at Exhibit A, Decl. of Natale Donato ¶ 10-11. It has no property,

bank accounts, facilities, or offices in Texas. Id. at ¶ 13-17. It does not maintain a place of business

in Texas, it is not qualified to do business in Texas, nor does it have a registered agent in the state.

Id. at ¶ 9, 12. Big Louie’s has no agent, resident representative or any type of representative in the

State of Texas, nor does it have any independent contractors located in the State of Texas

representing or soliciting the sale of Big Louie’s products or merchandise in the State of Texas.

Id. at ¶ 23.




{00350192.1}                                       2
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 4 of 12




       On September 23, 2021, a third-party delivered a summons to Natale Donato, a registered

 agent of Big Louie’s, in Pompano Beach, Florida. Returned Summons, [Dkt. No. 6] at 3. The

 summons was accepted on Natale Donato’s behalf by Kenny Martinez. Id.

                         III.    LACK OF PERSONAL JURISDICTION

          “On a motion to dismiss for lack of personal jurisdiction, the plaintiff bears the burden

 of establishing a prima facie case for the Court’s jurisdiction over a nonresident defendant.”

 Jackson Walker LLP v. Wetland Envtl. Techs., LLC, NO. 3:05-CV-06712-L 2006 U.S. Dist.

 LEXIS 14382, at *3 (N.D. Tex. Mar. 29, 2006) (citing Ham v. La Cienega Music Co., 4 F.3d

 413, 415 (5th Cir. 1993). In determining whether personal jurisdiction exists, the Court may

 examine affidavits, interrogatories, depositions, real testimony, or any combination of the

 recognized methods of discovery. Id. (citing Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir.

 1985)). While the Court must accept as true the undisputed allegations in the complaint, the

 Court is not required to credit conclusory allegations, regardless of whether such allegations

 are disputed. Panda Brandywine Corp. v. Potomac Elec. Power, 253 F.3d 865, 868 (5th Cir.

 2001).

          In order to justify the exercise of personal jurisdiction over a non-resident defendant two

 requirements must be met. First, the non-resident defendant must have “purposely availed”

 itself of the benefits and protections of the forum state by establishing “minimum contacts” with

 that state. Second, the exercise of personal jurisdiction must not offend traditional notions of

 “fair play and substantial justice.” Qassas v. Daylight Donut Flour Co. LLC, NO. 4:09-CV-

 0208 2009 U.S. Dist. LEXIS 53689, at *10 (S.D. Tex. Jun. 24, 2009) (citing Moncrief Oil Int’l.,

 Inc. v.OAO Gazprom, 481 F.3d 309, 311 (5th Cir. 2007)).

          “Minimum contacts” may be divided into separate tests: one for general jurisdiction and



{00350192.1}                                       3
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 5 of 12




 one for specific jurisdiction. Where contacts are “substantial, continuous, and systematic,” they

 may establish general jurisdiction. Id. General jurisdiction within a forum subjects the defendant

 to personal jurisdiction in any matter, even if the matter is unrelated to the defendant’s contacts

 with the forum. Id. at *4-5 (citing Johnston v. Multidata Sys. Int’l Corp., 523 F.3d 602, 610 (5th

 Cir. 2008). Where the defendant has directed its activities toward the forum state, and the

 controversy “arise[s] out of or [relates] to the defendant’s contacts with the forum state,” this is

 specific jurisdiction. Id. at *11-12 (quoting Freudensprung v. Offshore Technical Servs., Inc.

 379 F.3d 327, 343 (5th Cir. 2004). Where specific jurisdiction is established, the defendant is

 only subject to a court’s personal jurisdiction where the suit stems from the defendant’s

 interactions with the forum state.

       A.      PLAINTIFF’S JURISDICTIONAL ALLEGATIONS ARE
               INSUFFICIENT

       Plaintiff contends that personal jurisdiction is justified because Big Louie’s “invoked the

Court’s jurisdiction by making allegations against Plaintiff under the Lanham Act and sending a

cease-and-desist letter to [Plaintiff] and an attorney for [Plaintiff] within the Western District of

Texas. Compl. ¶ 5.      However, a cease and desist letter is insufficient to create personal

jurisdiction. Sending a cease and desist letter is not a tortious act, and therefore does not make it

foreseeable that the sender may be haled into court in Texas. See Stroman Realty, Inc v. Grillo

H-05-2066 2006 U.S. Dist. Lexis 11194, at *14-15 (S.D. Tex. Feb. 28, 2006) (citing, e.g. DNH,

LLC v. In-N-Out Burgers, 381 F. Supp. 2d 559, 563-64 (E.D. La. 2005) (noting that courts have

repeatedly held that cease and desist letters are insufficient to confer personal jurisdiction in

patent and copyright cases because principles of fair play and substantial justice afford a party

latitude to inform others of its rights without subjecting itself to suit in a forum.)); Impact Prods.

Inc. v. Impact Prods. LLC, 341 F. Supp. 2d 1186, 1190-91 (D. Colo. 2004) (ruling that a cease


{00350192.1}                                       4
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 6 of 12




and desist letter, by itself, is insufficient to create personal jurisdiction). Additionally, aside from

the letter and subsequent correspondence Plaintiff has not established that Big Louie’s has had

any contact with Plaintiff in Texas.

        Federal District Courts in Texas, including the Western District, have previously ruled

that a cease and desist letter is not sufficient to establish personal jurisdiction over a defendant in

a trademark case. Expedite IT AOG, LLC v. Clay Smith Eng'g, Inc., No. 309-CV-1978-L, 2010

WL 2671314 (N.D. Tex. June 30, 2010). In Expedite IT, the defendant, a trademark holder

residing in California, sent a cease and desist letter to plaintiff, an alleged infringer residing in

Texas. Id. at *1. The plaintiff sued in Texas, claiming that the letter established sufficient contacts

to establish personal jurisdiction in Texas. Id. The court, however, ruled in favor of defendant

because plaintiff had not met its burden by presenting a prima facie case that personal jurisdiction

is proper, even though defendant sent plaintiff a cease and desist letter alleging trademark

infringement. Id. at *4. Moreover, in Maverick Whiskey, LLC v. Brewery on Half Moon Bay,

2019 WL 5927591 (W.D. Tex. Nov. 12, 2019) (M.J. Chestney on referral from J. Pulliam), the

Western District of Texas Court agreed with the court in Expedite IT that a cease and desist letter

in a trademark dispute is not enough to establish specific personal jurisdiction. See id. at *8

(explaining, “the mere act of asserting a trademark or copyright right through a cease and desist

letter does not subject that party to specific personal jurisdiction”) (quoting Expedite IT AOG,

LLC v. Clay Smith Eng'g, Inc., No. 309-CV-1978-L, 2010 WL 2671314, at *4 (N.D. Tex. June

30, 2010)).

        Similarly, here, Plaintiff has not met its burden to establish a prima facie case to justify

this Court’s personal jurisdiction over Big Louie’s. Plaintiff’s Complaint provides no facts

sufficient to confer personal jurisdiction to this Court. Because it has not met its minimal burden



{00350192.1}                                        5
         Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 7 of 12




to establish personal jurisdiction, this case should be dismissed under Fed. R. Civ. P. 12(b)(2).

       B.      BIG LOUIE’S HAS INSUFFICIENT CONTACTS IN TEXAS TO
               ESTABLISH GENERAL JURISDICTION

       General jurisdiction allows courts of a forum state to exercise jurisdiction over the

defendant on any matter, even if the matter is unrelated to the defendant’s contacts with the

forum. Qassas. 2009 U.S. Dist. LEXIS 53689 at *4-5 (citing Johnston v. Multidata Sys. Int’l

Corp., 523 F.3d 602, 610 (5th Cir. 2008). However, general jurisdiction is difficult to establish,

requiring that regular contacts with the forum state over the course of a number of years, and not

contacts that are merely random, fortuitous, or attenuated. Id. “The threshold for satisfying the

requirements for general jurisdiction is substantially greater than that for specific jurisdiction

[and] typically, courts assert general jurisdiction only over nonresidents who are essentially

domiciled within the forum state.” Pac. Aerospace & Elecs., Inc. v. SRI Hermetics, Inc., NO.

CV-05-0155-AAM, 2005 U.S. Dist. LEXIS 27497, at *10 (E.D. Wash. Nov. 4, 2005).

       Plaintiff’s Complaint not only fails to establish justification for specific personal

jurisdiction, it also contains no facts that support a finding of general personal jurisdiction. Big

Louie’s has insufficient contacts with this forum to justify general jurisdiction. Big Louie’s has

no facilities, employees, bank accounts, agents, or property in Texas. Appendix at Exhibit A,

Decl. of Natale Donato ¶ 13-17.

       Big Louie’s lacks the requisite “substantial, continuous, and systematic” contacts with

Texas, and therefore respectfully submits that this Court cannot exercise general personal

jurisdiction over Big Louie’s.

       C.      BIG LOUIE’S CEASE AND DESIST LETTER IS INSUFFICIENT TO
               JUSTIFY PERSONAL JURISDICTION

       Big Louie’s and Plaintiff’s only alleged contact with each other are a cease and desist

letter from Big Louie’s attorney to Plaintiff, and e-mails between Big Louie’s attorney and

{00350192.1}                                      6
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 8 of 12




Plaintiff’s attorneys before and after this Complaint was filed. As demonstrated above, Big

Louie’s cease and desist letter, sent to Plaintiff in good faith, does not establish minimum contacts

with Texas, and is therefore insufficient to justify personal jurisdiction in this Court. Maverick

Whiskey, LLC, 2019 WL 5927591, at *8; see also Stroman Realty, 2006 U.S. Dist. Lexis 11194,

at *14-15; Impact Prods., 341 F. Supp. 2d at 1190-91 (explaining that such reasonable, good

faith efforts to protect its rights against a forum resident are insufficient to establish minimum

contacts); Expedite IT AOG, LLC v. Clay Smith Eng'g, Inc., (N.D. Tex. June 30, 2010) (explaining

that the mere act of asserting a trademark or copyright right through a cease and desist letter does

not subject that party to specific personal jurisdiction).

       D.      BIG LOUIE’S WEBSITE DOES NOT CREATE SUFFICIENT
               CONTACTS FOR PERSONAL JURISDICTION

       In evaluating the operation of a website to determine whether its existence confers

personal jurisdiction, the Fifth Circuit has opined that the traditional Zippo sliding scale as used

in Mink v. AAAA Development LLC,

         may not be well adapted to the general jurisdiction inquiry, because even
         repeated contacts with forum residents by a foreign defendant may not constitute
         the requisite substantial, continuous and systematic contacts required for a
         finding of general jurisdiction – in other words, while it may be doing business
         with Texas, it is not doing business in Texas.

Revell v. GW Lidov, 317 F.3d 467 (5th Cir. 2002) (emphasis in original). In GW Lidov, the Fifth

Circuit referred to a Sixth Circuit case, Bird v. Parsons, in which the Sixth Circuit found that

Ohio courts lacked general jurisdiction over a non-resident business even though the defendant

maintained a website open for commerce with Ohio residents, and over 4,600 Ohio residents had

in fact registered their domain names with the defendant through its website. Id.; Bird v. Parsons,

289 F.3d 865, 874 (6th Cir. 2002). The Bird court ruled that a “website that is accessible to

anyone over the Internet is insufficient to justify general jurisdiction.” Id. In other words, a


{00350192.1}                                       7
          Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 9 of 12




defendant’s widely accessible website, without more, does not confer general jurisdiction to

every forum in the United States. Instead, as with other means of communication (phone, walk-

in, mail-order), in determining whether general jurisdiction exists, the method of contacts is not

as important as how substantial they are. See Mothers Against Drunk Driving v. DAMMADD,

NO. 3:02-CV-1712-G 2003 U.S. Dist. LEXIS 1800, at *14 (N.D. Tex. Feb. 7, 2006) (quoting

Miss. Interstate Express, Inc v. Transpo, Inc., 681 F/2d 1003, 1005 (5th Cir. 1982) “whether

minimum contacts are sufficient to justify subjecting a non-resident to suit in a forum is

determined not on a mechanical and quantitative test, but rather under the particular facts upon

the quality and nature of the activity with relation to the forum state.” (Emphasis added by the

MADD court)); see also Action Tapes v. Ebert, NO.3:05-CV-1239-G 2006 U.S. Dist. LEXIS

4958, at *14-16 (N.D. Tex. Feb. 9, 2006) (holding that an out-of-state defendant who operated a

website from which she advertised and sold handicrafts lacked personal jurisdiction because

defendant’s contacts with the forum were insubstantial).

       Big Louie’s website does not confer personal jurisdiction. Big Louie’s website, located

at https://www.biglouies.com, is used primarily for informational purposes regarding its

restaurant’s menus, locations, and contact information. Big Louie’s does not sell any

merchandise by way of its website. While Big Louie’s website is accessible to Texas residents,

it is not directed specifically to Texas residents. Since a website, by itself cannot justify general

jurisdiction without continuous and substantial contacts with the forum state, and Big Louie’s

lacks these contacts, general personal jurisdiction should not be based on the existence of the Big

Louie’s website. Additionally, Plaintiff pleads no facts - at all - establishing the website is the

cause for the litigation such that specific personal jurisdiction exists. Therefore, Big Louie’s

website cannot justify specific or general personal jurisdiction.



{00350192.1}                                      8
         Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 10 of 12




                                   IV.     RELIEF REQUESTED

        This Court should dismiss Plaintiff’s Complaint without prejudice because Plaintiff

cannot establish a prima facie case of personal jurisdiction over Big Louie’s. In the alternative,

if the Court does not dismiss this action, then this action should be transferred to a more

appropriate forum. Where a court finds it lacks personal jurisdiction, it may dismiss the action

pursuant to Federal Rule of Civil Procedure 12(b)(2). In the alternative, a federal court is

authorized under 28 U.S.C. § 1406(a) to transfer the action to “any district or division in which

it could have been brought” if the court finds that it is “in the interest of justice” to transfer the

action. Herman v. Cataphora, Inc., 730 F.3d 460, 466 (5th Cir. 2013).

        The only contacts in the record that Plaintiff identifies in support of exercising personal

jurisdiction over Defendant are the cease and desist letter sent by Defendant’s counsel to

Plaintiff. Compl. ¶¶ 5, 15-16. This act is not sufficient to properly confer personal jurisdiction

over Defendant in this Court, let alone make Texas a proper venue. As the Defendant in this

action is a corporation that is both located and domiciled in Florida, Plaintiff's assertions under

sections 1391(b) and 1391(c) are improper. Additionally, as discussed above, Plaintiff has made

no allegation of conduct occurring within Texas giving rise to this action. Plaintiff’s assertions

under section 1391(b) are therefore also improper. Accordingly, Texas as a venue for this action

is improper. However, the action could have been properly brought in Florida. 28 U.S.C. § 1631.

As Defendant is domiciled within Broward County, Florida, and should the Court decide to

transfer this action, the proper venue to which this action should be transferred is the Southern

District of Florida, Fort Lauderdale Division. 28 U.S.C. § 89(c). Accordingly, should the Court

decline to dismiss this case, Big Louie’s respectfully requests that the Court transfer the case to

the Southern District of Florida, Fort Lauderdale Division as an alternative basis for relief.



{00350192.1}                                       9
         Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 11 of 12




                                      V.      CONCLUSION

       Plaintiff has not met its burden to establish a prima facie case that Big Louie’s has sufficient

 minimum contacts with Texas to allow the exercise of personal jurisdiction consistent with due

 process. As such, for all of the above stated reasons, Defendant respectfully submits the

 Complaint should be dismissed for lack of personal jurisdiction. Alternatively, the Court should

 transfer this action to the Southern District of Florida, Fort Lauderdale Division.

                          VI.     CERTIFICATE OF CONFERENCE

       On October 14, 2021, counsel for Big Louie’s, Derek Fahey, conferred with Plaintiff’s

counsel who indicated Plaintiff is opposed to the relief sought in this Motion.

                                           VII.   PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant, Big Louie's USA, Inc.,

 respectfully requests that this Honorable Court dismiss Plaintiff's Original Complaint for lack of

 personal jurisdiction, or in the alternative, transfer this case to the Southern District of Florida,

 Fort Lauderdale Division, and grant any further equitable relief it deems appropriate.




{00350192.1}                                      10
         Case 5:21-cv-00633-OLG Document 7 Filed 10/15/21 Page 12 of 12




 DATED: October 15, 2021                             Respectfully submitted,




                                                     /s/ Derek Fahey
                                                     Derek Fahey, Esq. (Pro Hac Vice pending)
                                                     Attorney-in-Charge
                                                     FBN 88194
                                                     The Plus IP Firm / Derek Fahey P.A.
                                                     101 NE 3rd Ave., Suite 1500
                                                     Fort Lauderdale, FL 33301
                                                     Tel: (954) 332-3584 (V)
                                                     derek@plusfirm.com
                                                     docket@plusfirm.com

                                                     and
                                                     /s/ Edward B. Marvin
                                                     Edward B. Marvin, Esq.
                                                     Texas Bar No. 24055917
                                                     Gunn, Lee & Cave, P.C.
                                                     8023 Vantage Drive, Suite 1500
                                                     San Antonio, TX 78230
                                                     Tel: (210) 886-9500 (V)
                                                     emarvin@gunn-lee.com

                                                     ATTORNEYS FOR DEFENDANT,
                                                     BIG LOUIE’S U.S.A., INC.




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 15, 2021, a true and correct copy of the foregoing,

was served on all counsel or parties of record by electronically filing the foregoing with the Clerk

of the Court using CM/ECF.

                                                             /s/Edward B. Marvin
                                                             Edward B. Marvin, Esq.


{00350192.1}                                    11
